        Case 2:05-cv-02287-dkv Document 16-5 Filed 03/27/06 Page 1 of 2   PageID 31



Subject: Consultation re: Motion to Compel production of documents named in
Exhibit A to Plaintiff's deposition notice
Date: Friday, March 24, 2006 1:10 PM
From: John Hershberger <john@hershbergerprice.com>
To: "Jim Newsom, III" <jnewsom@harrisshelton.com>

Jim,
I received your objections to the Notice for Plaintiff's deposition. I do not
agree with you regarding the production of documents for the deposition. First,
this deposition is not "directed more at documents than testimony," as Mr.
Ozrail is the Plaintiff and likely the main source of proof in this case.
Second, Mr. Ozrail is the only named Plaintiff, who has the burden of producing
proof to support his claims, and I find it hard to believe that your single
legal citation from a Massachussetts District Court is related to the same type
of deponent.
I called your office about 15 minutes ago to discuss your response prior to
filing a Motion to Compel. As the deposition is set for Tuesday morning, I will
likely call Judge Vescovo's secretary to see if the Judge is available for a
conference regarding this matter, either this afternoon or next Monday. I will
let you know the substance of the conversation when I call.
Please feel free to contact me about this. I will be in the office most of this
afternoon. If I am not in, please try my cell phone.
Thanks,
John


John Hershberger, Esq.
Hershberger|Price PLLC
239 Adams Avenue
Memphis, Tennessee 38103
Office: (901) 525-5524
Cell:   (901) 619-0981
Fax:    (901) 525-0290
Email: john@hershbergerprice.com

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        Case 2:05-cv-02287-dkv Document 16-5 Filed 03/27/06 Page 2 of 2   PageID 32



Revenue Code or (ii) promoting, marketing or recommending to another party any
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which you can rely for the purpose of avoiding penalties, please contact us.
